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             In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                   Filed: September 23, 2020

* * * * * * * * * * * * * * **
LORI SCHOONOVER,             *                         PUBLISHED
                             *
          Petitioner,        *                         No. 16-1324V
                             *
v.                           *                         Special Master Nora Beth Dorsey
                             *
SECRETARY OF HEALTH          *                         Damages Decision; Pain and Suffering;
AND HUMAN SERVICES,          *                         Future Pain and Suffering; Influenza (“Flu”)
                             *                         Vaccine; Shoulder Injury Related to Vaccine
          Respondent.        *                         Administration (“SIRVA”).
                             *
* * * * * * * * * * * * * * **

Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.
Jennifer L. Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                             DECISION AWARDING DAMAGES1

        On October 12, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine Act”).
Petitioner alleges that she suffered a left shoulder injury caused by an influenza (“flu”)
vaccination administered on October 16, 2013. Petition at Preamble (ECF No. 1). A Ruling on
Entitlement issued on January 30, 2019, finding the petitioner was entitled to compensation for
her shoulder injury related to vaccine administration (“SIRVA”). Ruling on Entitlement dated
Jan. 30, 2019 (ECF No. 59).


1
 Because this Decision contains a reasoned explanation for the action in this case, the
undersigned is required to post it on the United States Court of Federal Claims’ website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Decision will
be available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b),
petitioner has 14 days to identify and move to redact medical or other information, the disclosure
of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to the pertinent
subparagraph of 42 U.S.C. § 300aa (2012).


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        On August 5, 2020, the undersigned issued a ruling on damages, awarding petitioner
$200,000.00 for actual pain and suffering and $1,200.00 per year, for petitioner’s remaining life
expectancy, for future pain and suffering. Ruling Awarding Damages dated August 5, 2020
(ECF No. 94). That ruling is incorporated herein as if fully set forth. The undersigned also
ordered the parties to file a joint status report converting the undersigned’s award of future pain
and suffering to net present value. Id. at 9. On September 23, 2020, petitioner informed the
Court that the parties’ calculated the present value of petitioner’s future pain and suffering and
agree to an award of $30,438.95. Joint Status Report, filed Sept. 23, 2020 (ECF No. 97).

        Therefore, based on the record as a whole, and pursuant to the undersigned’s damages
ruling, the undersigned finds that petitioner is entitled to an award as ordered below:

       The undersigned awards a lump sum payment of $200,000.00 for actual pain and
suffering and a lump sum of $30,438.95 for future pain and suffering, for a total of
$230,438.95 in the form of a check payable to petitioner.

       These amounts represent compensation for all damages that would be available under §
300aa-15(a). The Clerk of Court is directed to enter judgment in accordance with this decision.

       IT IS SO ORDERED.


                                      s/Nora Beth Dorsey
                                      Nora Beth Dorsey
                                      Special Master




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